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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Tung Vo, et al. v. § MAG. JUDGE SHUSHAN
BP PLC, et al §
EDLA No. 10-3191 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT {8 HEREBY ORDERED that Plaintiffs WING LAM, VAN LE, HOANG PHAN
and HOA NGUYEN’S Motion for Leave of Court to Voluntarily Dismiss Claims Without
Prejudice is hereby in all things is GRANTED.

IT Ss FURTHER ORDERED THAT that the claims of Plaintiffs WING LAM, VAN
LE, HOANG PHAN and HOA NGUYEN only, as listed on Exhibit “A” attached to said
Motion are hereby dismissed without prejudice. This Order in no way affects the claims
of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
